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ro Srsse CL. 1948, 509,192 M.S.A._ 36.572
iff) TII0

i == KNOW ALL MEN BY THESE PRESENTS: That SOBEIE SAID SALEM, a single woman

 
 

whove edurese ie 4637 Palmer Avenue, Dearborn, Michigan
Quit Claim(s) to MALAKY JEBRIL

whoo addies ts = 4909 Rosalie Avenue, Deatborn, Michigan 48126

we

the following deactited premisas silusted In tha - City of Dearborn

Caunty of Wayne and State of Michigen, to-wit:

fy mane ern Tyre nga a=
ALE PARK SUBDIVISTON ss
a

Lut 368 of “CLOVER xr
f Plats, Wuyne County Records,

BD,
in Liber 34, Page 87

Exempt from Michigan transfer tax under Sec 207.508a, PA. 127 of 1968

$1.00 COPY 660
Be $4.00 REMONUMENTATIUN °

$7.00 DEED
RECORDED

 
 
 
 

1S662-43919

PUREE) E. TUUNLELUSY. NERTSIER OF bbESs

DAYHE CORNTY, &
Receitr eitaq

’

for whe full consideration of One ($1.00) Dollar

Dated this 29th day of January Ww 93
Witnesses: : Signed and Seated:
‘ ys / og
A tre tieie fhe. Yolabeca. Aad bgheomn (5.
we |W. Lieber h Sobhie Said Salem,
hi by I Rus ‘ ful Anes

Linda f. McLaughlin
(hS.)

STATE OF MICHIGAN | Lo
oe.
COUNTY OF __Wayne. (L.5.)

The foregoing Instrument was acknowledged ‘belose me Wis 29th day of January », 93

by  Sobhie Said Salem, a single woman

DP errnsstte Lat

My commiuion expires 9/13/93 Kenneth W, Lieber
L. Notery Publle

Busl
Intron Kenneth W. Lieber, Atty-at-law Addtens 20208 Ecorse Rd., Allen. Park, MI 48101

Wayne County, Michlaen

When Jed return tok 989 Aosatic
Stete Transier o¢ Tox NOM Dearborn rt. 4f Caé

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- Sand subsequent tax bille Jeme

Recording Fee.

 

 

Tax Porcel ¢ —

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